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12
                                UNITED STATES DISTRICT COURT
13                            NORTHERN DISTRICT OF CALIFORNIA
14                                    SAN JOSE DIVISION

15
     APPLE INC., a California corporation,
16                                                     Case No. 12-cv-00630-LHK (PSG)
                       Plaintiff,
17
            v.                                         DECLARATION OF MARK D.
18                                                     SELWYN IN SUPPORT OF APPLE’S
     SAMSUNG ELECTRONICS CO., LTD., a                  CORRECTED ADMINISTRATIVE
19   Korean corporation; SAMSUNG                       MOTION TO FILE DOCUMENTS
     ELECTRONICS AMERICA, INC., a New                  UNDER SEAL
20   York corporation; and SAMSUNG
     TELECOMMUNICATIONS AMERICA,
21   LLC, a Delaware limited liability company,

22                     Defendants.

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     Declaration of Mark D. Selwyn in Support of Apple’s
     Corrected Administrative Motion to File Documents Under Seal
     Case No. 12-cv-00630-LHK (PSG)
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 1          I, Mark D. Selwyn, hereby declare as follows:

 2          1.      I am a partner at the law firm of Wilmer Cutler Pickering Hale and Dorr LLP,

 3   counsel for Apple Inc. (“Apple”) in the above-referenced litigation. I am licensed to practice law

 4   in the State of California, the Commonwealth of Massachusetts, and the State of New York, and

 5   am admitted to practice before the U.S. District Court for the Northern District of California. I

 6   am familiar with the facts set forth herein, and, if called as a witness, I could and would testify

 7   competently to those facts under oath.

 8          2.      Exhibit 2 to my declaration in support of Apple Inc.’s Combined Opposition to

 9   Samsung’s (1) Motion for Relief from Nondispositive Pretrial Order of Magistrate Judge and (2)

10   Emergency Request to Stay (“Apple’s Opposition”) was filed entirely under seal because it may

11   contain or discuss information that Samsung considers confidential. Apple seeks to seal Exhibit 2

12   only insofar as it contains or discusses the confidential terms of Apple’s licenses or licensing

13   negotiations. The Court has previously allowed Apple to seal discussion of “pricing terms,

14   royalty rates, and minimum payment terms of . . . licensing agreements.” See, e.g., Case No. 11-

15   cv-01846, Dkt. No. 1649 (citing In re Electronic Arts, 298 Fed. App’x 568, 569 (9th Cir. 2008)).

16   Particularly here, where the motion at issue is not dispositive and the specific terms of Apple’s

17   licenses are not relevant to the motion, such information should be sealed. See, e.g., Apple Inc. v.

18   Samsung Electronics Co., Ltd., et al., Case Nos. 2012-1600, 2012-1606, 2013-1146, 2013 WL

19   4487610, at *8-11 (Fed. Cir. Aug. 23, 2013) (“the public has less of a need for access to court

20   records attached only to non-dispositive motions because those documents are often unrelated, or

21   only tangentially related, to the underlying cause of action”) (citing Kamakana v. City & Cnty. of

22   Honolulu, 447 F.3d 1172, 1179 (9th Cir. 2006)).

23          3.      Apple’s request to seal is necessary to protect its confidential business information

24   and information that Samsung may consider confidential.

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     Declaration of Mark D. Selwyn in Support of Apple’s
     Corrected Administrative Motion to File Documents Under Seal
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 1          I declare under penalty of perjury that the foregoing is true and correct. Executed this 10th

 2   day of October, 2013 at Palo Alto, California.

 3                                                /s/ Mark D. Selwyn
 4                                                Mark D. Selwyn

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     Corrected Administrative Motion to File Documents Under Seal
     Case No. 12-cv-00630-LHK (PSG)
      Case 5:12-cv-00630-LHK Document 801-1 Filed 10/10/13 Page 4 of 4



 1                                   CERTIFICATE OF SERVICE

 2          I hereby certify that a true and correct copy of the above and foregoing document has been

 3   served on October 10, 2013 to all counsel of record who are deemed to have consented to

 4   electronic service via the Court’s ECF system per Civil Local Rule 5-1.

 5
                                                 /s/ Mark D. Selwyn
 6                                               Mark D. Selwyn
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